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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION



   UNITED STATES OF AMERICA,                           Case No. 23-80101-CR-
                                                       CANNON/REINHART
                  Plaintiff,

   vs.

   DONALD J. TRUMP and
   WALTINE NAUTA,

               Defendants.
   _____________________________________

          RESPONSE IN OPPOSITION TO THE GOVERNMENT’S MOTION FOR
           CONTINUANCE AND PROPOSED REVISED SCHEDULING ORDER

          The Defendants, President Donald J. Trump and Waltine Nauta, in the above captioned

  matter, respectfully request that this Court deny the Government’s proposed scheduling order,

  withdraw the current Order (ECF No. 28), and postpone initial consideration of any rescheduled

  trial date until after substantive motions have been presented and adjudicated.

          This extraordinary case presents a serious challenge to both the fact and perception of our

  American democracy. The Court now presides over a prosecution advanced by the administration

  of a sitting President against his chief political rival, himself a leading candidate for the Presidency

  of the United States. Therefore, a measured consideration and timeline that allows for a careful

  and complete review of the procedures that led to this indictment and the unprecedented legal

  issues presented herein best serves the interests of the Defendants and the public. Thus, pursuant

  to 18 U.S.C. § 3161(h)(7)(A), based on the extraordinary nature of this action, there is most

  assuredly no reason for any expedited trial, and the ends of justice are best served by a continuance.
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         Additionally, the legal questions are significant and present issues of first impression. The

  intersection between the Presidential Records Act and the various criminal statutes at issue has

  never been addressed by any court, and in the Defendants’ view, will result in a dismissal of the

  indictment. The authority, vel non, of the Special Counsel to maintain this action likewise presents

  a potentially dispositive issue of first impression in this Court. Additional significant matters

  include the classification status of the documents and their purported impact on national security

  interests, the propriety of utilizing any “secret” evidence in a case of this nature, and the potential

  inability to select an impartial jury during a national Presidential election. Moreover, the extensive

  and voluminous discovery, coupled with the challenges presented by the purportedly classified

  material that has yet to be produced, will require significant time for review and assimilation. All

  these questions further warrant a continuance pursuant to 18 U.S.C. § 3161(h)(7)(B)(ii). The

  Government’s apparent view that these unprecedented issues should be adjudicated on an

  expedited basis is simply untenable and ignores the magnitude of this case.

         Thus the Court should, respectfully, before establishing any trial date, allow time for

  development of further clarity as to the full nature and scope of the motions that will be filed, a

  better understanding of a realistic discovery and pre-trial timeline, and the completion of the

  security clearance process, such that the Defendants can be informed fully as to the involved

  evidence and thus be able to present more informed arguments as to the relevant legal issues.

  Moreover, Defendants expect that various key legal issues will be fully dispositive, thus negating

  the need for any trial. Given the broad discretion this Court has when evaluating application of

  Speedy Trial Act exclusions, and the demonstrative application herein of the factors enumerated

  in 18 U.S.C. § 3161(h)(7)(A) & (B), the Court should adopt and implement an approach which




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  postpones establishment of any trial date. See United States v. Hatfield, 466 F. App’x 775, 777

  (11th Cir. 2012) (recognizing trial court’s “broad discretion”).

         In further support of their position, the Defendants state as follows:

         1.      The Defendants were indicted on June 8, 2023, on a series of charges centering on

  Defendants’ handling of documents bearing purported classification markings and alleged

  obstruction efforts. (ECF No. 3).

         2.      On June 13, 2023, the Defendants were presented before United States Magistrate

  Judge Jonathan Goodman. On the same day, President Trump was arraigned on the indictment and

  entered a plea of not guilty. (See ECF No. 16). However, Mr. Nauta had not yet retained counsel

  admitted to practice before this Court, and so his arraignment was continued to June 27, 2023.

  That arraignment was further continued to July 6, 2023, and Mr. Nauta then entered a plea of not

  guilty. (See ECF Nos. 44 and 50).

         3.      Following the June 13, 2023, proceedings, the Government initiated the security

  clearance process for counsel to both Defendants. Defense counsel has been working through the

  arduous process to obtain necessary security clearance (see ECF No. 21) and will update the Court

  pursuant to its July 6, 2023, Order. (ECF No. 57). Even after the applications are completed, there

  will be some meaningful delay during the pendency of the approval process.

         4.      The Government’s investigation into the matters at issue in the indictment has been

  ongoing for over a year. During that time, the Government collected many hundreds of thousands

  of documents, interviewed dozens of witnesses, and presented many witnesses before two separate

  Grand Juries. The Defendants will require ample time to fully study that entire process and to

  evaluate not only what the Government will produce voluntarily, but also whatever additional

  Brady, etc., material must and should be requested and produced.




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          5.      The Government anticipates producing discovery in stages due to the sheer volume

  of documents collected and because of procedural mechanisms necessary to protect against the

  unlawful production of classified information. The Government produced its “first production of

  unclassified discovery” on June 21, 2023. 1               That initial production was substantial and

  voluminous. Therein, the Government produced more than 428,300 records (in excess of 833,450

  pages) consisting of approximately 122,650 emails (including attachments) and 305,670

  documents gathered from over ninety (90) separate custodians. The initial production also

  included some 57 terabytes of compressed raw CCTV footage (so far there is approximately nine

  months of CCTV footage, but the final number is not yet certain).

          6.      In addition, “there will be additional productions of discovery” provided by the

  Government, as it continues to process “some devices and search warrant returns.” Notably, the

  Government has not produced all interview-related materials, including certain witness statements

  and associated memorialization of those statements. The Government has not informed the

  Defendants when it anticipates producing additional discovery, what that discovery entails, or to

  even approximate when it will be in a position to fully comply with its discovery obligations under

  the law.

          7.      The Government’s efforts are ongoing, and the Defendants have no insight into

  when this effort will be complete, nor do any of the parties know when the classified discovery

  will be made available to the Defendants. Thus, in addition to the extraordinary volume detailed

  above, there will be further discovery.

          8.      Once the Defendants have an opportunity to review just what has been provided in



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   Government correspondence dated June 21, 2023, details the initial production. Pursuant to the Protective
  Order entered in this action (ECF No. 27), this correspondence can be provided to the Court either in camera
  or under seal.


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  the initial production, there will almost certainly be requests for supplemental information,

  including Brady. However, it is not possible with the exercise of reasonable diligence for the

  Defendants to begin to identify any supplemental documentation without first evaluating what has

  been produced. Since, unlike most cases, all the discovery materials are sensitive and high-profile,

  the Defendants are unable to utilize contract or other third-party reviewers to the extent such

  resources would normally be available. Thus, an adequate and diligent review of the existing

  discovery production will take some considerable time and effort. Indeed, given the volume of

  information in the Government’s production and the time required to electronically process that

  information, counsel for the Defendants only accessed the initial discovery—i.e., email and

  documents, but not CCTV footage which is still being processed for review—for the first time on

  June 28, 2023. Accordingly, until at least some initial review is completed, the Defendants cannot

  reasonably be expected to advance any meaningful position as to the schedule. These voluminous

  and layered discovery issues further support a continuance pursuant to 18 U.S.C. §

  3161(h)(7)(B)(ii) & (iv) in that the Defendants must and should be provided the reasonable time

  necessary for effective preparation for pre-trial motions and trial.

         9.      In addition, the Government will at some point produce purportedly classified

  material, and the Government acknowledges the discovery burdens on information subject to the

  Classified Information Procedures Act (“CIPA”). To that end, the Government, in its June 21,

  2023, letter to defense counsel, conveyed to the Defendants that “[c]lassified material will be

  handled separately” in accordance with CIPA. According to that letter, the purportedly classified

  material includes documents and witness statements.

         10.     CIPA procedures are, of course, demanding and critical (especially in a case of first

  impression before any court of the United States) because CIPA establishes processes for




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  determining before trial the use, relevance, and admissibility of classified information that the

  defense reasonably expects to disclose. See United States v. Fernandez, 913 F.2d 148, 151 (4th

  Cir. 1990). Indeed, other courts, including a court in this District, have recognized that it is

  reasonable to delay trial where “discovery would be both complicated and extensive, covering

  thousands of documents, many of which are sensitive or classified and therefore subject to

  elaborate security measures as well as the time-consuming procedures set forth in the Classified

  Information Procedures Act . . . .” United States v. Noriega, 746 F. Supp. 1548, 1559 (S.D. Fla.

  1990) (opining that the prosecution of Panama’s former dictator, Manuel Noriega, was “both

  unusual and complex and accordingly warranted a continuance”); see also United States v. Flores,

  975 F. Supp. 731, 736 n.4 (E.D. Pa 1997) (recognizing the nature of a “complex criminal case

  involving national security interests and extensive and time-sensitive proceedings under the

  Classified Information Procedures Act”); United States v. Poindexter, 719 F. Supp. 6, 8 (D.D.C.

  1989) (realizing the “procedurally complicated” events in a litigation that involves “issues of

  classified discovery and those which are likely to be presented under the Classified Information

  Procedures Act . . . .”). Defense counsel’s meaningful review and considerations for use of

  purportedly classified records cannot begin until it first receives security clearances. Then, only

  after review and consideration of that material, can the Defendants engage in an informed dialogue

  with the Court regarding the applicable CIPA issues and procedures. In general, the Defendants

  believe there should simply be no “secret” evidence, nor any facts concealed from public view

  relative to the prosecution of a leading Presidential candidate by his political opponent. Our

  democracy demands no less than full transparency. But it is nonetheless premature to even engage

  in the evaluation of such issues and the Court should therefore postpone its consideration until the

  Defendants are able to participate in an informed debate.




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         11.     Indeed, significant effort will be required to sort through the purportedly classified

  documents once received from the Government before any motions on behalf of the Defendants

  can even be filed. At present, based on the Government’s requested schedule, the trial would begin

  December 11, 2023, with pre-trial motions due in the preceding months. From a practical matter,

  the volume of discovery and the CIPA logistics 2 alone make plain that the Government’s requested

  schedule is unrealistic.

         12.     By way of further example, the Government’s proposed timeline differs markedly

  from two relatively recent CIPA involved cases, United States v. Reality Winner, 464 F. Supp. 3d

  1375 (S.D. Ga.), aff’d, 835 F. App’x 1002 (11th Cir. 2020), and United States v. Chaoqun, No.

  18-CR-611, 2020 WL 1689826 (N.D. Ill. Apr. 7, 2020). In Winner, the defendant was indicted

  June 7, 2017, but trial was not set to commence until October 15, 2018 (a plea was ultimately

  entered prior to trial). In Chaoqun, the defendant was indicted January 24, 2019, but the case was

  not tried until September 12, 2022. The timelines in both these cases contrast starkly with the

  Government’s proposed six-month timeline in this case.

         13.     Furthermore, contrary to the Government’s assertion regarding the nature of the

  legal issues in this matter, (see ECF No. 34), this case presents novel, complex, and unique legal

  issues, most of which are matters of first impression. As noted above, this Court will need to

  evaluate the intersection between the Presidential Records Act, 44 U.S.C. §§ 2201-2209, and the

  various criminal statutes forming the basis of the indictment. These will be questions of first

  impression for any court in the United States, and their resolution will impact the necessity, scope,

  and timing of any trial. Moreover, also as noted above, the Defendants anticipate pursuing




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   For example, the Defendants cannot possibly provide the requisite notice under CIPA section 5(a) before
  a full review of the purportedly classified information.


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  Constitutional and statutory challenges relative to the authority of the Special Counsel to maintain

  this action (additional issues of first impression for this Court). The Defendants may also challenge

  the purported classification status of certain documents at issue in this action. However, any such

  challenge cannot possibly be evaluated and presented prior to a review of the actual materials at

  issue. Thus, and again contrary to the Government’s conclusory assertion, this case falls squarely

  within 18 U.S.C. § 3161(h)(7)(B)(ii). Therefore, ample time must and should be provided for the

  presentation, debate, and adjudication of these and other significant issues prior to the

  consideration of any trial date.

         14.     While the Government appears to favor an expedited (and therefore cursory)

  approach to this case, it cannot point to any exigency or urgency requiring a rapid adjudication.

  There is no ongoing threat to national security interests nor any concern regarding continued

  criminal activity.

         15.     By contrast, Defense counsel submits that the Court’s paramount concern must be

  that Defendants receive a fair trial, which requires adequate time to prepare a defense. Requiring

  Defendants to adhere to the current Scheduling Order, (see ECF No. 28), and the schedule

  proposed by the Government, (see ECF No. 34-2), would be prejudicial. The Government’s

  request to begin a trial of this magnitude within six months of indictment is unreasonable, telling,

  and would result in a miscarriage of justice. Indeed, proceeding to trial on December 11, 2023,

  would deny counsel for the Defendants the reasonable time necessary for effective preparation and

  “result in a miscarriage of justice.” 18 U.S.C. § 3161(h)(7)(B)(i). Accordingly, “the ends of justice

  served by” granting a continuance “outweigh the best interests of the public and the defendant[s]

  in a speedy trial.” Id. at § 3161(h)(7)(A); (see ECF No. 34).




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          16.     President Trump is running for President of the United States and is currently the

  likely Republican Party nominee. This undertaking requires a tremendous amount of time and

  energy, and that effort will continue until the election on November 5, 2024. Mr. Nauta’s job

  requires him to accompany President Trump during most campaign trips around the country. This

  schedule makes trial preparation with both of the Defendants challenging. Such preparation

  requires significant planning and time, making the current schedule untenable and counseling in

  favor of a continuance.

          17.     Furthermore, careful consideration will need to be given to the ability to seat an

  impartial jury under the current circumstances. Proceeding to trial during the pendency of a

  Presidential election cycle wherein opposing candidates are effectively (if not literally) directly

  adverse to one another in this action will create extraordinary challenges in the jury selection

  process and limit the Defendants’ ability to secure a fair and impartial adjudication. These

  considerations are relevant to any continuance determination under 18 U.S.C. § 3161(h)(7)(A) &

  (B)(ii) & (iv). See e.g., Coleman v. Kemp, 778 F.2d 1487, 1489 (11th Cir. 1985) (where a court is

  “unable to seat an impartial jury because of pretrial publicity or an inflamed community

  atmosphere” then “due process requires the trial court to grant . . . a continuance.” (citing Sheppard

  v. Maxwell. 384 U.S. 333, 362–63 (“where there is reasonable likelihood that prejudicial news

  prior to trial will prevent a fair trial, the judge should continue the case until the threat abates”)).

  Indeed, even Department of Justice policy cautions against taking prosecutorial action for the

  purpose of affecting an election or helping a candidate or party. See U.S. Dep’t of Just., Just.

  Manual § 9-85.500 (2022). Here, there is simply no question any trial of this action during the

  pendency of a Presidential election will impact both the outcome of that election and, importantly,

  the ability of the Defendants to obtain a fair trial.




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          18.     Finally, previously scheduled trials in other matters for both President Trump and

   defense counsel make it nearly impossible to prepare for this trial by December 2023. For

   example, President Trump and Mr. Blanche are preparing for a March 2024 criminal trial in New

   York Supreme Court; Mr. Kise and President Trump are preparing for a lengthy civil trial in New

   York Supreme Court commencing October 2, 2023; and Mr. Woodward has three trials scheduled

   in the coming months: United States v. Navarro, No. 20-cr-200 (D.D.C.) (one week trial

   commencing September 5, 2023; United States v. Schulman, No. 20-cr-434 (D.Md.) (multi-week

   trial commencing October 2, 2023; United States v. Samsel, No. 20-cr-537 (D.D.C.) (multi-week

   trial commencing October 23, 2023). The pendency of these other proceedings and their collective

   impact on the ability of defense counsel to prepare effectively for trial also support granting a

   continuance pursuant to 18 U.S.C. § 3161(h)(7)(B)(ii) & (iv).

          19.     For the reasons stated above, as well as the reasons offered in the Government’s

   Motion for Continuance, (ECF No. 34), a continuance is warranted because this case is “unusual,”

   “complex,” and the “nature of the prosecution [involves] novel questions of fact or law.” 18 U.S.C.

   § 3161(h)(7)(B)(i)-(ii). Proceeding to trial on December 11, 2023, would deny counsel for the

   Defendants the reasonable time necessary for effective preparation and “result in a miscarriage of

   justice Id. At § 3161(h)(7)(B)(i). An accelerated trial schedule would also be contrary to the

   interests of our Nation in maintaining the legitimacy of, and confidence in our system of justice.

   Accordingly, “the ends of justice served by” granting a continuance “outweigh the best interests

   of the public and the defendant[s] in a speedy trial.” Id. at § 3161(h)(7)(A); (see ECF No. 34).

          20.     Respectfully, based on all of the foregoing, the Court should therefore withdraw

   the current Order setting trial and postpone any consideration of a new trial date. A continuance

   is certainly both necessary and appropriate pursuant to 18 U.S.C. § 3161(h)(7), and postponing




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   any further decision serves best the ends of justice in the adjudication of this unprecedented and

   extraordinary action.


    Dated: July 10, 2023                             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I, Christopher M. Kise, certify that on July 10, 2023, I electronically filed the foregoing

   document with the Clerk of Court using CM/ECF.

                                                   /s/ Christopher M. Kise
                                                   Christopher M. Kise




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